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                                                  STATE OF NEW YORK
                                           OFFICE OF THE ATTORNEY GENERAL
ANDREW M. CUOMO                                                                                                STATE COUNSEL DIVISION
 Attorney General                                                                                                 Litigation Bureau


                                                 Writer Direct: (518) 473-7184

                                                            October 5, 2009

            First-Class
            Mail & E-Mail

            Xu-Shen Zhou
            8 Wilbur Road
            New Hartford, NY 13413
            jasonbz4@yahoo.com

                     Re.   Zhou v. SUNYIT, 6:08-CV-0444 (DNH) (GJD) (N.D,N.Y);
                           Zhou v. SUNYIT, 4:09-mc-00323 (MM) (M.D. Pa.)

            Dear Mr. Zhou:

                   I am in receipt of your letter dated September 29, 2009, and your October 1, 2009 letter to
            Magistrate Judge DiBianco (Zhou v. SUNYIT, 6:08-CV-0444 (N.D.N.Y), Docket Entry 36),
            copies of which are attached for your reference.

                    As a preliminary matter, Bloomburg University has agreed to withhold documents
            responsive to the Defendants’ Subpoena pending a resolution of your motion to quash.
            Moreover, I do intend to raise the propriety of the subpoena to Bloomberg University before
            Magistrate Judge DiBianco at the discovery conference scheduled to take place on October 16,
            2009. I likewise have informed counsel for the United States Office of Homeland Security that I
            will not be serving it with a subpoena for records pertaining to your immigration status until after
            you have addressed your objections to Magistrate Judge DiBianco.

                    With respect to your second set of Document Demands, my clients have just provided me
            with documents that may be responsive, and I will be producing them shortly. I will not be
            addressing your third sets of discovery demands until after I have raised their propriety with the
            Magistrate Judge. Defendants strongly believe that they have been made solely for the purpose
            of harassing them, and unnecessarily burdening the them with unnecessary litigation expenses.

                   Defendants find it ironic that you are stonewalling against all of their discovery efforts,
            while you serve numerous discovery requests that are cumulative, unduly burdensome, and



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irrelevant. As I have told you on numerous occasions, Defendants provided in their initial
disclosures all materials pertaining to your employment by SUNYIT, and all materials pertaining
to its decision not to renew your employment contract.

        With respect to the telephone message you left for me, in which you offered to settle this
matter for a small sum so that Defendants may avoid the expenses involved in litigation, there is
no interest at this time.

         Finally, while Defendants will agree to hold in abeyance your motion to quash made in
the District Court for the Middle District of Pennsylvania pending a resolution of our discovery
disputes by Magistrate Judge DiBianco, they will not consent to your request to postpone the
judicial conference scheduled for October 16, 2009. Defendants wish to complete discovery and
depositions, and file their dispositive motion expeditiously. You have told me on a number of
occasions that you already have retained counsel who planned to represent you at depositions.
When I indicated that Defendants would object to a “limited” appearance, and to the presence at
deposition of anyone other than the parties or attorneys of record, you stated that your attorney
would be filing a notice of appearance and then representing you for the remainder of the
litigation. Your attorney surely can file his notice of appearance within the week, and once he
does, he can call me and I will make every effort to accommodate his schedule.

                                                     Very truly yours,

                                                       s/ Douglas J. Goglia
                                                     Douglas J. Goglia
                                                     Assistant Attorney General

cc.    Hon. Gustave J. DiBianco       (via CM/ECF)
       United States Magistrate Judge
       United States District Court for the
         Northern District of New York
       Federal Building and U.S. Courthouse
       P.O. Box 7396
       Syracuse, New York 13261-7396

       Hon. Malcolm Muir (via First-Class Mail)
       United States Senior District Judge
       United States District Court for the
         Middle District of Pennsylvania
       U.S. Courthouse & Federal Office Building
       240 West Third Street, Suite 218
       Williamsport, PA 17701
